Case 1:23-cv-06414-JGK Document 24 _ Filed 07/26/23. Page1lofi1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BANCO SAN JUAN INTERNACIONAL, INC.,

Plaintiff,
23-cav-6414 (JGK)
- against -
ORDER

THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

As discussed during today’s telephone conference, the
Gefendants shall respond to the plaintiff’s motion for emergency
relief by Friday, July 28, 2023, at 10 a.m. If the parties have
not reached an agreement that would obviate the need for the
Court to rule on the plaintiff's motion for a temporary
restraining order by that time, the plaintiff may reply to the
defense submission by Friday, July 28, 2023, at 5 p.m.

SO ORDERED.

Dated: New York, New York co ~ de
July 26, 2023 Ny [oly

oa John G. Koeltl
United States District Judge

